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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 Case No.        2:21-cv-01838-WDK-JC                              Date     April 23, 2021
 Title           G & G Closed Circuit Events, LLC v. Guillermo Padilla et al


 Present         The Honorable William D. Keller, United States District Judge
                 Patricia Gomez                                        None
                Courtroom Deputy                                   Court Reporter

       Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                      None                                                None
 Proceedings:           (In Chambers) ORDER TO SHOW CAUSE

       The Court, on its own motion, hereby ORDERS plaintiff to show cause in writing
no later than May 14, 2021 why this action should not be dismissed for lack of
prosecution as to defendants Guillermo Padilla, individually and d/b/a La Barca Grill
and Cantina, Martha O. Padilla, individually d/b/a La Barca Grill and Cantina, La
Barca Grill and Cantina, Inc., an unknown business entity d/b/a La Barca Grill and
Cantina. As an alternative to a written response by plaintiff, the Court will consider the
filing of one of the following as an appropriate response to this OSC on or before the
above date:
       1) Answer to Complaint; or
       2) Application for Default (Fed. R. Civ. P. 55(a).

      It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the
action diligently, including filing proofs of service and stipulations extending time to
respond. If necessary, plaintiff must also pursue Rule 55 remedies promptly upon the
default of any defendant. All stipulations affecting the progress of the case must be
approved by the Court. See Local Rule 8-3. No oral argument on this matter will be
heard unless ordered by the Court. The Order will stand submitted upon the filing of a
responsive document on or before the date upon which a response is due.

 Plaintiff's counsel is ordered to serve this minute order on all defendants within 48
                           hours from the date of this order.

         IT IS SO ORDERED.


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